' Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 1 of 30 Page|D #: 6

Filed; 2/22/2018 2100 PM
48003-1802-€1'~000027 marlene Likens
Madison Circuit Court 3 mer

Niadison County, indiana

M`ADISON CIRCUIT C()URT 3
C()UNTY OF MADISON
S’I`ATE OF INI)IANA
KIMBERLY BOONE, Case No.:

Plaintiff,

 

VS.

CHAD L. CHRIVIA, COB-ASH INC., and
HARM()N OIL COMPANY INC.,

Defendants.

 

 

COMPLAINT FOR DAMAGES ANI) DEMANI) F()R JURY TRIAL
Plaintiff}<imber]y Boone, by counsei, complains against Defendants Chad L. Chrivia,
Cob-Ash Ine., and Harmon Oil Company Ino., as t`ollows:
Parties and Recitals

1. At all times relevant, Pizti_ntit`f Kimberly Boone (“Boone”) Was and now is a resident of

 

Ell<mont, Limestone County, Alabznna.
2_ At all times relevant, De'l"endant Chad L. Chrivia (“Chrivia”) Wns and is a resident of

Lapeer, Lapeer County, `l\/l`iohigan, and was an employee and/or agent ofCOb-Ash lnc.

 

and/or Harmon Oil Company Inc.

3. At all times relevant, Dei°endant Cob-Ash Inc. (“Cob~Ash”) Was and now is a corporation
engaged in the business of transporting goods in interstate oommerc.e for hire. 'I`he
company is registered in Michigan but not in Indiana.

4. Cob-Ash is a motor carrier registered With the U.S. Depsrtment of Transp<)rtation

(“DOT”) and the Federai Motor Carrier Safety Adminislration. Cob-Ash’$ DOT

numbers is 45586].

EXHIBIT ___B__,

' Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 2 of 30 Page|D #: 7

5 . At all times relevant, Det`endant lehtinen Oil Company lnc. (“l~larmon Oil”) was and now

 

is a corporation engaged in the business of transporting goods in interstate commerce for

 

hire. The company is registered in vl\/,liehigan but not in .lndiana.

6. Harmon Oil is a motor carrier registered with the U.S, Department of Transportation
(“DOT”) and the Federal l\/l_otor Carrier Safety Administration. l~larmon. Oil’s DOT
numbers is 1567'7‘| 9.

7. At the time ofthe collision, Chrivia was acting within the course and scope of his
employment and/or agency With Coh-Ash and Harinon Oil.

Facts

8. On or about February 25, 2016, at approximately 3:()0 p.m., Boone was operating a 2005
Gi\/IC Yul<on driving southbound on Dr. Martin Luther King Jr. Blvd., Whieh runs north~
north east and south~south west, at or near the intersection of Dr. l\/lartin Luther King Jr.
Blvd. and North St. (ztlso believed to be known as Dayson Dr.) in l\/ladison County,
Indiana.

9. At the same time and place where Boone was driving southbound on l\/Iartin Luther King
.lr. Blvd., Cob-Ash and/or l~l'arrnon Oil, by and through its agent, servant, and/or
employee Chri\/ia, was careless and negligent, in the operation of a 2010 International
semi tractor-trailer, when Chrivia pulled out onto l\/,lartin l_,uther King Jr. Blvd. directly in
front ofChrivia and slamming into Boone’s vehicle

lO. The 20101nternational semi tractor~trailer is or was owned by Cob~Ash and/or Harmon
Oil.

Count 1

l`\)

` Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 3 of 30 Page|D #: 8

l l. At all times relevant_, Cob-Ash and/or H`armon Oil, by and through its agent, servant,
and/or employee Chrivia owed various duties which included, but are not limited to, the
following
a) A duty to exercise reasonable and ordinary care in the operation ot` the vehiclc;

b) A duty to maintain proper control of the vehicle;

c) A duty to keep a proper lool<out; and,

 

d) A duty to operate the vehicle at a reasonable speed under the circumstances in order

 

to avoid a collision.
l2. On or about Februaiy 25, 2()l6, at approximately 3200 p.m., Cob-Ash and/or l"larmon Oil,
by and through its agent servant, and/or employee Chrivia negligently breached the
duties that were owed which included, but are not limited to, the following
a) Failing to exercise reasonable and ordinary care in the operation ol`the vehicle;
b) Failing to maintain proper control of the vehicle;
c) Failing to keep a proper lool<out; and,
d) Failing to operate the vehicle ata reasonable speed under the circumstances in order
to avoid a collision
i3. Some or all o‘t`the actions ofCob-Ash and/or Harmon Oil were negligent acts or
omissions and violations ot` statutes or ordinances, for which there was no excuse or
justilication_., that were designed to protect thc class of persons, in which Boonc Was
'included, against the risk of harm which occurred as a result of the violations
l4. As a direct and proximate cause ot` the negligence of`Cob~Ash and/or l-larmon Oii, by and
through its agent, servant, and/or employee Chrivia_, Boone was injured and incurred the

following damages and expenses:

{_;_!

' Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 4 of 30 Page|D #: 9

a) has sustained physical and emotional injuries, which might be permanent in nature
and have affected the ability to function as a whole person;
b) has sustained physical pain and mental sut`fering, and it is likely physical pain, and
mental suffering will be experienced in the future, as a result ofthe injuries;
c) has incurred reasonable expenses for necessary medical care._ treatment, and scrvices,
and may incur future expenses t`or medical care, treatment, and servicc;
d) may have had personal property damaged or destroyedJ lost the usc of the personal
property, and incurred towing and storage expenses_;
e) may have lost earnings, protits, or income; and3
t) may have been otherwise damaged and injured
15. Cob-Ash and/or Harmon Oil is/are vicariously liable and responsible for the acts of
negligence and damages caused by its/their employees and/or agents during the course
and scope ot`their employment and/or agency with Cob-Ash and/or Harmon Gil.
l6. Cob-Ash and/or Harmon Oil, by and through its agent, servant, and/or employee Chrivia
isjointly and severally liable to Boone.
Count 2
17. At all times relevant, Chrivia was a professional operator ot`a commercial motor vehicle
required to follow rules promulgated by the Department ot`Transportation and commonly
referred to as the Federal l\/Iotor Carrier Sat`ety Regulations and the Connmercial Driver’s
Lieense Manual; as well as lndiana state law, in part, as follows:
a) A duty to exercise reasonable and ordinary care in the operation o'l` the vehicle;
b) A duty to maintain property control of the vehicle;

c) A duty to keep a proper lookout; and,

`Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 5 of 30 Page|D #: 10

19.

20.

d) A duty to operate the vehicle at a reasonable speed under the circumstances in order

to avoid a collision

. On or about February 25, 2016, at approximately 3:00 p.m., Chrivia negligently breached

the duties that Were owed Whieh included, but are not limited to, the following

a_) Failing to exercise reasonable and ordinary care in the operation oi"the vehicle;

b) Failing to maintain proper control ofthe Vehiele;

c) Failing to keep a proper lookout; and,

d) Failing to operate the Vehicle at a reasonable speed under the circumstances in order
to avoid a collision

Some or all ot`thc actions ot`Chrivia were negligent acts or omissions and violations of

statutes or ordinances, for Which there was no excuse orjustitication, that vvere designed

to protect the class of persons, in Whicli Boone Was included, against the risk of harm

Which occurred as a result ol"the violations

As a direct and proximate cause of the negligence of Chrivia, Boone Was injured and

incurred the following damages and expenses:

a) has sustained physical and emotional injuries, Which might be permanent in nature
and have affected the ability to function as a Whole person;

b) has sustained physical pain and mental sut`fering, and it is likely physical pain, and
mental suffering will be experienced in the luture, as a result ofthe injuries;

o) has incurred reasonable expenses t`or necessary medical eare_, treatment, and services,
and may incur future expenses for medical care, treal:rn ent, and service;

d) may have had personal property damaged or destroyed, lost the use ot the personal

property, and incurred to\>vin,gzJ and storage expenses;

 

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 6 of 30 Page|D #: 11

e) may have lost earnings, protits, or income; and,
l) may have been otherwise damaged and injured
Zl. Chrivia isjointly and severally liable to Boone.

Wheref`ore, Boone requests this Court enter judgment in her favor and against Cob-Ash,
Harmon Oil, and/or Chrivia in an amount commensurate with her injuries and damages5 for the
costs of the action, and for all other just and proper relief in the premises

R.espectfully submitted,

As'/A lex Beemcm

Alex Beeman, #31222-49

BEEMAN LAW

3737 S. Scattert`ield Rd., Suite 200

Anderson, IN 46013

Phene: (765) 640~1330

Fax: (765) 640~]332

Emai.l: alex@beeinanlawotliice.eoin
REQUEST FOR JURY TR{AL

Plaintift`Kimberly Boone, by counsel, pursuant to lnd. Trial Rule 38(¥3), demands a trial
by jury

Rcspcctt`ully subm itted_,
/S/Alex Bee)mm

Alex Beeman, #31222-49
BEEMAN LAW

 

Case 1:18-cv-01249-WTL-I\/|PB D@§é@§_qtab-z?_efik%b@ép$/l$ Page 7 of 30 Page|=[ud¢z/i£zoiaz:oo Pm

Darlene Likens

Madison Circuit Court 3 _ C_|erk
Madison County, |ndiana

MADISON CIRCUIT COURT 3
COUNTY OF MADISON
STATE OF INDIANA
KIMBERLY BOONE, Case No.:
Plaintiff,

VS.

 

CHAD L. CHRIVIA, COB-ASH INC., and
HARMON OIL COMPANY INC.,

 

 

Defendants.
SUMMONS
To Defendant: Chad L. Chrivia
547 S Maple Leaf Rd
Lapeer, MI 48446

You have been sued by the person named “Plaintifl” in the court stated above. The
nature of the suit against you is Stated in the complaint which is attached to this document. lt
also States the demand which the Plaintiff has made and Wants from you.

You must answer the complaint in writing, by you or your attorney, Within twenty (20)
days, (tWenty-three (23) days if service is by mail), commencing the day after you receive this
summons, orjudgment will be entered against you for what the Plaintiff has demanded

If you have a claim for relief against the Plaintiff arising from the same transaction or
occurrence, you must assert it in your Written answer.

Service is to be made by Certiiied Mail.

2/23/2018 w %qd,w)
Date: ` MW

Clerk, Madison County Court (Seal)

 

Prepared by:

Alex M. Beeman, #31222-49
Attorney for Plaintiff

3737 S. Scatterfield Rd., Suite 200
Anderson, Indiana 46013

Phone: (765) 640-1330

FaX: (765) 640-1332

 

    

as
1a
’,»/`

' sr
\.\ ~ n ,
"“Y?§aaa e@t`i`

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 8 of 30 Page|D #: 13

RETURN OF SERVICE OF SUMMONS
l hereby certify that l have served the within summons:

l. By delivering on the day of , 2018, a copy of this
summons and a copy of the complaint to each of the within-named defendant

 

2. By leaving on the day of , 2018, for each of the Within-
named defendant, a copy of the summons and a copy of the complaint at the respective dwelling
house or usual place of abode with , a person of
suitable age and discretion residing therein whose usual duties or activities include prompt
communication of such information to the person served.

 

All done in l\/Iadison County, Indiana.

 

 

 

Fees : SHERIFF OF MADISON COUNTY, INDIANA
Mileage:
Total : By:
Deputy
SERVICE ACKNOWLEDGED
A copy of the within summons and a copy of the complaint attached thereto Were
received by me at , this day of
, 2018.
Defendant

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 9 of 30 Pagell];d#;,,,;lgq|zm 7:51 PM

Madison County Circuit Court 3
Madison County, |ndiana

 

MADISON CIRCUIT COURT 3
COUNTY OF MADISON
STATE OF INDIANA

KIMBERLY BO()NE, Case No.: 48C03-1802-CT-27
Plaintiff,

VS.

CHAD L. CHRIVIA, COB-ASH INC., and
HARMON OIL COMPANY INC.,

Defendants.

 

 

AFFIDAVIT OF SERVICE
I, Alex M. Beeman, being duly sworn, hereby State the following:
l. I am the attorney for Kimberly Boone in the above-entitled action.
2. The attorneys Who have appeared for Defendants agreed to accept service for Defendant
Chad L. Chrivia.
3. On March l9, 2018, Chad L. Chrivia was served via efile.incourts.gov With the summons
and complaint
VERIFICATION
l affirm under the penalties of perjury that the foregoing representations are true.
/s/Alex Beeman
Alex Beeman, #31222-49

BEEMAN LAW

###

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 10 of 30 Page|D #: 15

Respectfully submitted,

/S/Alex Beemcm

Alex Beeman, #31222-49

BEEMAN LAW

3737 S. Scatterfield Rd., Suite 200
Anderson, IN 46013

Phone: (765) 640-1330

Fax: (765) 640-1332

Email: alex@beemanlavvoffice.com

CERTIFICATE OF SERVICE

l hereby certify that on March 19, 2018, a copy of this document was furnished to all
attorneys of record and registered parties via eflle.incourts.gov.

/s/Alex Beeman

Alex Beeman, #31222-49

BEEMAN LAW

3737 S. Scatterfield Rd., Suite 200
Anderson, IN 46013

Phone: (765) 640-1330

Fax: (765) 640-1332

Email: alex@beemanlawoffice.com

 

 

 

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 11 of 30 Page|D #: 16

/ Flled! 2/22/2018 2100 PM
1, 48C03-'l 802-CT-000027 Dar|ene Likens
Madison Circuit Court 3 Cl°'k

 

Madison County, |ndiana

MADISON CIRCUIT COURT 3
COUNTY OF MADISON
STATE OF INDIANA

KIMBERLY BOONE, Case No.:
Plaintiff,
vs.

CHAD L. CHRIVIA, COB-ASH INC., and
HARMON OIL COMPANY INC.,

 

 

Defendants.
SUMMONS
To Defendant: Cob-Ash Inc.
c/o Tom Harmon
6696 Beech
PO Box 703
North Branch, MI 48461

You have been sued by the person named “Plaintift” in the court stated above. The
nature of the suit against you is stated in the complaint which is attached to this document lt
also states the demand Which the Plaintit`f has made and Wants from you.

You must answer the complaint in Writing, by you or your attorney, Within twenty (20)
days, (twenty-three (23) days if service is by mail), commencing the day after you receive this
summons, or judgment Will be entered against you for what the Plaintit`f has demanded

If you have a claim for relief against the Plaintiff arising from the same transaction or
occurrence, you must assert it in your written answer.

Service is to be made by Certified Mail.

’ l\/lV\/
Date: 2/23/2018 wm d¢dm)

cierk, Madison County Court (sean

 

Prepared by:

Alex l\/I. Beeman, #31222-49
Attorney for Plaintiff

3737 S. Scattertield Rd., Suite 200
Anderson, Indiana 46013

Phone: (765) 640-1330

Fax: (765) 640-1332

 

 

 

/» Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 12 of 30 Page|D #: 17

/ Fii d: 2/22/2018 2:00 PM
43003-1802-cT-000027 ° Dar,ene Likens

Madison C|rcuit Court 3 _ C_ierk
Madlson County, |ndiana

 

MADISON CIRCUIT COURT 3
COUNTY OF MADISON
STATE ()F INDIANA

KIMBERLY BOONE, Case No.:
Plaintiff,

VS.

CHAD L. CHRIVIA, COB-ASH INC., and
HARMON OIL COMPANY INC.,

 

 

Defendants.
SUMMONS
To Defendant: Harmon Oil Company

c/o Tom Harmon

6696 Beech St.

PO Box 703

North Branch, l_V[I 48461

You have been sued by the person named “Plaintiff” in the court stated above. The
nature of the suit against you is stated in the complaint which is attached to this document lt
also states the demand which the Plaintiff has made and wants from you.

You must answer the complaint in writing, by you or your attorney, Within twenty (20)
days, (twenty-three (23) days if service is by mail), commencing the day after you receive this
summons, orjudgment Will be entered against you for what the Plaintiff has demanded

If you have a claim for relief against the Plaintiff arising from the same transaction or
occurrence, you must assert it in your written answer.

Service is to be made by Certitied l\/lail.

2/23/2018 )@4.<_!¢~_ €7"§¢.¢»,{,,,,) Mvv
Date:

Clerk, Madison County Court (Seal)

 

Prepared by:

Alex M. Beeman, #31222~49
Attorney for Plaintit`t`

3737 S. Scattert`leld Rd., Suite 200
Anderson, Indiana 46013

Phone: (765) 640~1330

Fax: (765) 640~1332

 

 

sane §§ casson assessed zwn. mem >_2, §§ §§ ma n

 

 

 

 

 

03
1 . 5
.. E>__BBSEMN. >s>__@o§§$mnmw N.__H_m mwmm mann umwa manm.
# SHMMHNHM MMMH__@MM §>__B B§_aom seems 5 esso m §§ §§ §§ sewage snE=z ¢_QE< w
D §wc§§».§ boon co §=oo D
m §§Eam%em»wm D dozen guiwa MWHMMU U wm mwmm ©m®© Nv©N Novm O®mm
ms §
Uwo§hwmm __m_>_ vesseQO _u Eo>=mn SEE#E Y:~w=mem sav
E__ms_ B§Bm§ U e§a.,§n §§ E
@m$§m_ __ms_ acute m §§ ogme .m t
v©.v®.v. __>_ .cocmt_m £tOZ
mow xom O a
comwm ©®©©

zo§m_._ Eo.r o\o
.00 =O co§mI
oz D §23 sees these aaa .wm> =

 

 

 

me> § ~._. EEW Eoe Eeemme essence dm>__mu m_ d "o~ oommo.uv< o_£t< ._.
f cwm .q..o ..l,aa.§ a t. »<§Q.Ml. marina wage v Eo\c 05 co eo
w . o too 9 om
RGENQ Q~o o WEUZ bid nev § mm>§oz .M mow~ammrc 05 wo xumn 05 a U .c~ c n.< m
santana 1 ., q .:o> § ease erc 559 eeo esa ~e£ am
§me mo §,.rx'..,.'i/B NM‘X owhm>m.. o£ co magnum mem areas ._:o> vaca §

 

 

.m. new .N .F mEQ~W m§a&oo m

   

o§mcmmw. .< .

 

 

_`©vw¢ __>_ _cocm.~m ctoz

              

 

mo.\. xom O a
commm ©@@@
connor Eo.r o\o
.oO =O co&%ww§
\w.u….~\m~\~@ _ _.,
odor ~.Meom
gem§mea

GEE.~$EV ~a_mo.mm c§om m
…dnoow~§w §eumm EHBH:. .

  

 

 

 

 

Case1:18-cv-01249-WTL-|\/|PB Document1-2 Filed 04/25/18 Page 13 0f30Pa
L‘[E|E EL_EE EU[|U UEE.'[ 5'[<|]¢

 

 

 

Case 1:18-cv-01249-WTL-l\/lPB Document 1-2 Filed 04/25/18 Page 14 of 30 Page-ll&¢¢&'ml&ms 9:25 PM
Madison County Circuit Court 3
Madison County, |ndiana

MADISON CIRCUIT COURT 3
COUNTY OF MADISON
STATE OF INDIANA

KIMBERLY BOONE, Case No.: 48C03-18()2-CT-27
Plaintiff,

VS.

CHAD L. CHRIVIA, COB~ASH INC., and
HARMON OIL COMPANY INC.,

Defendants.

 

 

AFFIDAVIT OF SERVICE
I, Alex M. Beeman, being duly sworn, hereby state the following

1. l am the attorney for Kimberly Boone in the above-entitled action.

2. On February 23, 2018, Cob-Ash Inc. and Harmon Oil Company Inc. Was sent via
certified mail, return receipt, the summons and copy of the complaint.

3. On February 26, 2018, Cob-Ash lnc. and Harmon Oil Cornpany Were served the
Sumrnons With a copy of the complaint as evidenced by the certified mail return receipts
attached hereto.

VERIFICATION
l affirm under the penalties of perjury that the foregoing representations are true.
/s/Alex Beeman

Alex Beeman, #31222-49
BEEMAN LAW

Case 1:18-0v-01249-WTL-l\/|PB Document 1-2 Filed 04/25/18 Page 15 of 30 PagelD #: 20

Respectfully submitted,

 

/s/Alex Beeman

Alex Beeman, #31222-49

BEEMAN LAW

373'7 S. Scatterf`ield Rd., Suite 200
Anderson, IN 46013

Phone: (765) 640-1330

FaX: (765) 640-1332

Email: alex@beemanlawoff`ice.com

CERTIFICATE OF SERVICE

l hereby certify that on l\/Iarch 12, 2018, a copy of this document will be mailed via U.S.
mail, pre-paid postage to the following person(S):

Cob-Ash Inc.

c/o Tom Harmon

6696 Beech

PO Box 703

North Branch, Ml 48461

Harmon Oil, Inc.

c/o Tom Harmon

6696 Beech

PO Box 703

North Branch, l\/ll 48461

Chad L. Chrivia
547 S Maple Leaf Rd
Lapeer, MI 48446

/s/Alex Beeman

Alex Beeman, #31222-49

BEEMAN LAW

3737 S. Scatterfield Rd., Suite 200
Anderson, IN 46013

Phone: (765) 640-1330

Fax: (765) 640-l332

Email: alex@beemanlawoff`lce.com

l\.)

Case 1:18-0v-01249-WTL-l\/|PB Document 1-2 Filed 04/25/18 Page 16 of 30 Page|g,;§,;13,;o189:08 AM

Madison County Circuit Court 3
Madison County, |ndiana

STATE OF INDIANA ) MADISON CIRCUIT COURT 3

C()UNTY OF MADISON i SS: CAUSE NO.: 48C03-1802-CT-27

KIMBERLY BOONE,
Plaintiff,

VS.

CHAD L. CHRIVIA,
COB-ASH, INC. and
HARMON OIL COMPANY, INC.,

`./\__»~_¢\_/\_¢\_/w~_/W\__/W

Defendants.
APPEARANCE BY ATTORNEY IN CIVIL CASE
Party Classification: Defendants

1. The undersigned attorney and all attorneys listed on this form now
appear in this ease for the following party member(s):
Chad L. Chrivia, Cob-Ash, Inc. and Harmon Oil Company, Inc.

2. Applicable attorney information for service as required by Trial
Rule 5(B)(2) and for case information as required by Trial Rules 3.1 and 77(B)
is as follows:

Christopher R. Whitten, Attorney No. 20429-49
Jason J. Hoy, Attorney No. 20931-49
WHITTEN LAW OFFICE
6801 Gray Road, Suite I-I
Indianapolis, IN 46237
(317) 362-0225 Telephone
(317) 362-0151 Facsirnile
cwhitten@indvcounsel.com
ihoy@indycounsel.com

3. There are other party members: No.
4. If first initiating party filing this case, the Clerk is required to
assign this case the following Case ’l`ype under Adrninistrative Rule 8(b)(3 ):

N/A

5. I will accept service by FAX at the above noted number: No.

Case 1:18-0v-01249-WTL-l\/|PB Document 1-2 Filed 04/25/18 Page 17 of 30 PagelD #: 22

6. This case involves support issues. No. (If yes, supply social

security number for all family members).

7 . There are related cases: No.

8. This form has been served on all other parties. Certificate of

Service is attached: Yes.

9. Additional information required by local rule: N/A.

Respectfully submitted,
WHITTEN LAW OF`FICE

MM/MW“

Christopher R. Whitten/ 20429-49
1\> \<\>

 

 

Jason J. Hoy/20931-49
Counsel for Defendants

CERTIFICATE OF SERVICE

l hereby certify that the foregoing document was served on the following
by electronic filing through the Court’s system, on l\/larch 16, 2018:

AleX Beeman, Esq.

BEEMAN LAW

3737 S. Scatterfield Rd, Suite 200
Anderson, IN 46013
Alex@BeemanLawOffice.com

WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 4623'7
PH: 317-362-0225
Fax: 317-362-0151

Ml/MW”

Christopher R. Whitten
Jason J. Hoy

 

Case 1:18-cv-01249-WTL-l\/lPB Document 1-2 Filed 04/25/18 Page 18 of 30 Pagelllgd:#§h§§m 9:08 AM

Madison County Circuit Court 3
Madison County, |ndiana

 

STATE OF INDIANA ) MADISON CIRCUIT COURT 3
COUNTY OF MADISGN § SS: CAUSE NO.: 48€03-1802-€’1`-27
KIMBERLY BOONE,
Plaintiff,
vs.
CHAD L. CHRIVIA,

COB-ASH, INC. and
HARMON OIL COMPANY, INC.,

l
l
l
)
l
)
)
l
)
)
Defendants. )
MOTION FOR ENLARGEMENT OF TIME

Defendants, Chad L. Chrivia, Cob-Ash, Inc. and Harmon Oil Cornpany,
Inc. (“Defendants”), by counsel, respectfully request the Court for an
enlargement of time of 30 days to respond to the Complaint (“Complaint”) of
Plaintiff, Kimberly Boone, and in support thereof, state as follows:

1. On or about February 26, 2018, Defendants, Cob-Ash, Inc. and
Harmon Oil Company, Inc., were served with a copy of the Summons and
Complaint via certified mail.

2. According to the Court’s online docket, Defendant, Chad L.
Chrivia, has not yet been served with a copy of the Summons and Complaint.

3. The time for Defendants to respond to Plaintiff’s Complaint has not
yet expired

4. Counsel for Defendants requires additional time to confer with his

clients and to prepare an appropriate response to the Complaint.

5. No prior enlargement of time has been requested or obtained.

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 19 of 30 Page|D #: 24

WHEREFORE, Defendants, Chad L. Chrivia, Cob-Ash, Inc. and I-Iarmon
Oil Company, Inc., by counsel, respectfully request the Court for an
enlargement of time of 30 days up to and including April 20, 2018, in which to
respond to the Complaint and for all other just and proper relief.
Respectfully submitted,

WHITTEN LAW OFFICE

MM%

Christopher R. Whitten/ 20429-49
Jason J. Hoy/20931-49
Counsel for Defendants

 

CERTIFICATE OF SERVICE

l hereby certify that the foregoing document was served on the following
by electronic filing through the Court’s system, on March 16, 2018:

AleX Beeman, Esq.

BEEMAN LAW

37 37 S. Scatterfield Rd, Suite 200
Anderson, IN 46013
AleX@BeemanLawOffice.com

 

MM¢/W""

Christopher R. Whitten
Jason J. Hoy

 

WHITTEN LAW OFFlcE
6801 Gray Road, Suite H
lndianapolis, lN 46237
PH: 317-362-0225
Fax: 317-362-0151

Case 1:18-cv-01249-WTL-I\/|PB Document 1-2 Filed 04/25/18 Page 20 of 30 Page|D #: 25

STATE OF INDIANA ) MADISON CIRCUIT COURT 3
COUNTY OF MADISON § SS: CAUSE NO.: 48C03-1802-CT-2'7
KIMBERLY BOONE,

Plaintiff,

vs.
CHAD L. CHRIVIA,

COB-ASH, INC. and
HARMON OIL COMPANY, INC.,

)
)
)
)
)
)
)
)
)
)
Defendants. )
ORDER ON DEFENDANTS’ MOTION FOR ENLARGEMENT OF TIME

This matter came before the Court on Defendants’ Motion for
Enlargement of T ime to Answer Complaint. The Court having been first duly
advised, now GR.ANTS the Motion.

IT IS THEREFORE ORDERED that Defendants, Chad L. Chrivia, Cob-

Ash, Inc. and Harmon Oil Company, Inc., shall have up to and including April

20, 2018, in which to respond to Plaintiff’s Compl..

 
      

Date; March 22, 2018

 

 

Judge, Madison

Copies to:

AleX Beeman, Esq. Christopher R. Whitte ,J> CC
BEEMAN LAW Jason J. Hoy, Esq. AB

3737 S. Scatterfield Rd, Suite 200 WHITTEN LAW OFFIcE

Anderson, IN 46013 6801 Gray Road, Suite H

Indianapolis, IN 46237

Recommended For APPROVAL

garza

Commissioner

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 21 of 30 Page\gl;£;gg,@o184:13pm

Madison County Circuit Court 3
Madison County, |ndiana

STATE OF INDIANA ) MADISON CIRCUIT COURT 3
) SS:
COUNTY OF MADISGN ) CAUSE NO.: 48€03-1802-CT-27

KIMBERLY BOONE,
Plaintiff,
vs.
CHAD L. CHRIVIA,

)
)
)
)
)
)
)
COB-ASH, INC. and )
HARMON OIL COMPANY, INC., )
)
Defendants )

ANSWER, AFFIRMATIVE DEFENSES
AND DEMAND FOR TRIAL BY JURY

 

Defendants, Chad L. Chrivia, Cob-Ash, Inc., and Harmon Oil Company,
Inc. (“Defendants”), by counsel, and for their Answer, Affirmative Defenses, and
Demand for Trial by Jury to Plaintiff’s Complaint for Damages (“Complaint”),
state the following:

Parties and Recitals

l. At all times relevant, Plaintiff Kimberly Boone (“Boone”) was and
now is a resident of Elkmont, Limestone County, Alabama.

ANSWER: Defendants are without sufficient information to admit or
deny the allegations contained in paragraph 1 of Plaintiff’s Complaint.

2. At all times relevant, Defendant Chad L. Chrivia (“Chrivia”) was
and is a resident of Lapeer, Lapeer County, Michigan, and was an employee
and / or agent of Cob~Ash, Inc. and / or Harmon Oil Company, Inc.

ANSWER: Defendants admit that Chrivia was a resident of Lapeer,

Michigan, and was an employee of Cob-Ash, Inc. Defendants deny the
remaining allegations contained in paragraph 2 of Plaintiff’s Complaint.

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 22 of 30 Page|D #: 27

3. At all times relevant, Defendant Cob~Ash, Inc. (“Cob-Ash”) was and
now is a corporation engaged in the business of transporting goods in
interstate commerce for hire. The company is registered in Michigan but not in
Indiana.

ANSWER: Defendants admit the allegations contained in paragraph 3 of
Plaintiff’s Complaint.

4. Cob-Ash is a motor carrier registered with the U.S. Department of
Transportation (“DOT”] and the Federal Motor Carrier Safety Administration,
Cob-Ash’s DOT numbers is 455861.

ANSWER: Defendants admit the allegations contained in paragraph 4 of
Plaintiff’s Complaint.

5. At all times relevant, Defendant Harmon Oil Company, Inc.
(“Harmon Oil”) was and now is a corporation engaged in the business of
transporting goods in interstate commerce for hire. The company is registered
in Michigan but not in Indiana.

ANSWER: Defendants deny the allegations contained in paragraph 5 of
Plaintiff’s Complaint.

6. Harmon Oil is a motor carrier registered with the U.S. Department
of Transportation (“DOT”) and the Federal Motor Carrier Safety Administration.
Harmon Oil’s DOT numbers is 1567719.

ANSWER: Defendants admit that Harmon Oil is registered with the U.S.
Department of Transportation and the Federal Motor Carrier Safety

Administration. Defendants deny the remaining allegations contained in
paragraph 6 of Plaintiff’s Complaint.

2

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 23 of 30 Page|D #: 28

7 . At the time of the collision, Chrivia was acting within the course
and scope of his employment and / or agency with Cob-Ash and Harmon Oil.

ANSWER: Defendants admit that Chrivia was acting within the course

 

and scope of his employment with Cob-Ash. Defendants deny the

remaining allegations contained in paragraph 7 of Plaintiff’s Complaint.

 

Facts

8. Gn or about February 25, 2016, at approximately 3200 p.m., Boone
was operating a 2005 GMC Yukon driving southbound on Dr. Martin Luther
King Jr. Blvd., which runs north-north east and south-south west, at or near
the intersection of Dr. Martin Luther King Jr. Blvd. and North St. (also believed
to be known as Dayson Drive) in Madison County, Indiana.

ANSWER: Defendants are without sufficient information to admit or
deny the allegations contained in Plaintiff’s Complaint.

9. At the same time and place where Boone was driving southbound
on Martin Luther King Jr. Blvd., Cob-Ash and / or Harmon Oil, by and through
its agent, servant, and/ or employee Chrivia, was careless and negligent, in the
operation of a 2010 International semi tractor-trailer, when Chrivia pulled out
onto Martin Luther King Jr. directly in front of Chrivia and slamming into
Boone’s vehicle.

ANSWER: Defendants deny the allegations contained in paragraph 9 of
Plaintiff’s Complaint.

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 24 of 30 Page|D #: 29

10. The 2010 International semi tractor-trailer is or was owned by
Cob-Ash and / or Harmon Oil.
ANSWER: Defendants admit that the 2010 International semi tractor-
trailer is or was owned by Cob-Ash. Defendants deny the remaining
allegations contained in paragraph 10 of Plaintiff’s Complaint.

1 1. At all times relevant, Cob-Ash and / or Harmon Oil, by and through
its agent, servant, and/ or employee Chrivia owed various duties which

included, but are not limited to, the following:

a) A duty to exercise reasonable and ordinary care in the
operation of the vehicle;

b) A duty to maintain proper control of the vehicle;
c) A duty to keep a proper lookout; and

d) A duty to operate the vehicle at a reasonable speed under the
circumstances in order to avoid a collision.

ANSWER: Defendants admit that all drivers on Indiana roadways owe a
duty to operate their vehicles in a reasonable manner. Defendants deny
the remaining allegations contained in paragraph 11 of Plaintiff’s
Complaint to the extent they are inconsistent with Indiana law.

12. On or about February 25, 2016, at approximately 3:00 p.m., Cob-
Ash and/ or Harmon Oil, by and through its agent, servant, and/ or employee
Chrivia negligently breached the duties that were owed which included, but are

not limited to, the following:

a) Failing to exercise reasonable and ordinary care in the
operation of the vehicle;

b) Failing to maintain proper control of the vehicle;

c) Failing to keep a proper lookout; and

 

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 25 of 30 Page|D #: 30

d) Failing to operate the vehicle at a reasonable speed under
the circumstances in order to avoid a collision.

ANSWER: Defendants deny the allegations contained in paragraph 12 of
Plaintiff’s Complaint.

13. Some or all of the actions of Cob-Ash and/ or Harmon Oil were
negligent acts or omissions and violations of statutes or ordinances, for which
there was no excuse or justification, that were designed to protect the class of
persons, in which Boone was included, against the risk of harm which
occurred as a result of the violations
ANSWER: Defendants deny the allegations contained in paragraph 13 of
Plaintiff’s Complaint.

14. As a direct and proximate cause of the negligence of Cob-Ash
and / or Harrnon Oil, by and through its agent, servant, and/ or employee
Chrivia, Boone was injured and incurred the following damages and expenses;

a) has sustained physical and emotional injuries, which might

be permanent in nature and have affected the ability to
function as a whole person;

b) has sustained physical pain and mental suffering, and it is

likely physical pain, and mental suffering will be experienced
in the future, as a result of the injuries;

c) has incurred reasonable expenses for necessary medical
care, treatment, an services, and may incur future expenses
for medical care, treatment, and service;

d) may have had personal property damaged or destroyed, lost
the use of the personal property, and incurred towing and
storage expenses;

e) may have lost earnings, profits, or income; and

il may have been otherwise damaged and injured.

5

 

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 26 of 30 Page|D #: 31

ANSWER: Defendants deny the allegations contained in paragraph 14 of
Plaintiff’s Complaint.

15. Cob-Ash and/ or l-Iarmon Oil is/ are vicariously liable and
responsible for the acts of negligence and damages caused by its/their
employees and/ or agents during the course and scope of their employment
and / or agency with Cob-Ash and / or Harmon Oil.

ANSWER: Defendants admit that vicarious liability would attach to Cob-
Ash for Chrivia’s actions, but deny any negligence on Chrivia’s part.

Defendants deny the remaining allegations contained in paragraph 15 of
Plaintiff’s Complaint.

 

16. Cob-Ash and/ or I-Iarmon Oil, by and through its agent, servant,
and / or employee Chrivia is jointly and severally liable to Boone.

ANSWER: Defendants deny the allegations contained in paragraph 16 of
Plaintiff’s Complaint.

Count 2
17. At all times relevant, Chrivia was a professional operator of a
commercial motor vehicle required to follow rules promulgated by the
Department of Transportation and commonly referred to as the Federal Motor
Carrier Safety Regulations and the Commercial Driver’s License Manual; as
well as Indiana state law, in part, as follows:

a) A duty to exercise reasonable and ordinary care in the
operation of the vehicle;

b) A duty to maintain proper control of the vehicle;

c) A duty to keep a proper lookout; and

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 27 of 30 Page|D #: 32

 

d) A duty to operate the vehicle at a reasonable speed under the
circumstances in order to avoid a collision.

ANSWER: Defendants admit that Chrivia was a commercial motor
vehicle operator. Defendants further admit that all drivers on Indiana
roadways owe a duty to operate their vehicles in a reasonable manner.
Defendants deny the remaining allegations contained in paragraph 17 of
Plaintiff’s Complaint to the extent they are inconsistent with Indiana law.

18. On or about February 25, 2016, at approximately 3:00 p.m.,
Chrivia negligently breached the duties that were owned which included, but

are not limited, to the following:

a) Failing to exercise reasonable and ordinary care in the
operation of the vehicle;

b) Failing to maintain proper control of the vehicle;
c) Failing to keep a proper lookout; and
d) Failing to operate the vehicle at a reasonable speed under

the circumstances in order to avoid a collision.
ANSWER: Defendants deny the allegations contained in paragraph 18 of
Plaintiff’s Complaint.

19. Some or all of the actions of Chrivia were negligent acts or
omissions and violations of statutes or ordinances, for which there was no
excuse or justification, that were designed to protect the class of persons, in
which Boone was included, against the risk of harm which occurred as a result
of the violations

ANSWER: Defendants deny the allegations contained in paragraph 19 of
Plaintiff’s Complaint.

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 28 of 30 Page|D #: 33

20. As a direct and proximate cause of the negligence of Chrivia, Boone
was incurred and incurred the following damages and expenses;
a) has sustained physical and emotional injuries, which might
be permanent in nature and have affected the ability to
function as a whole person;
b) has sustained physical pain and mental suffering, and it is
likely physical pain, and mental suffering will be experienced
in the future, as a result of the injuries;
c) has incurred reasonable expenses for necessary medical
care, treatment and services, and may incur future expenses
for medical care, treatment, and service;
d) may have had personal property damaged or destroyed, lost
the use of the personal property, and incurred towing and
storage expenses;
e) may have lost earnings, profits, or income; and
il may have been otherwise damaged and injured.
ANSWER: Defendants deny the allegations contained in paragraph 20 of
Plaintiff’s Complaint.
21. Chrivia is jointly and severally liable to Boone.
ANSWER: Defendants deny the allegations contained in paragraph 21 of
Plaintiff’s Complaint.
AFFIRMATIVE DEFENSES
Defendants, Chad L. Chrivia, Cob-Ash, Inc. and Harmon Oil Company,
Inc. (“Defendants”), by counsel, for their Affirmative Defenses to Plaintiff’s
Complaint, state as follows:

l. Plaintist damages, if any, should be reduced by the percentage of

the comparative fault allocated to Plaintiff.

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 29 of 30 Page|D #: 34

2. Plaintiff has failed to state a claim upon which a recovery may be
granted.

3. Subject to further discovery, Plaintiff may have failed to mitigate
her damages

4. Defendants hereby specifically deny any and all allegations in
Plaintiff’s Complaint that were not specifically admitted

5. Defendants reserve the right to assert additional Affirmative
Defenses.

WHEREFORE, Defendants, Chad L. Chrivia, Cob-Ash, Inc., and Harmon
Oil Company, Inc., respectfully request that Plaintiff take nothing by way of her
Complaint, for costs of this action, and for all other just and proper relief.

DEMAND FOR TRIAL BY JURY

 

Defendants, Chad L. Chrivia, Cob-Ash, Inc. and Harrnon Oil Company,
Inc. (“Defendants”), by counsel, respectfully request that the above-captioned

matter be tried by a jury.

Respectfully submitted,

WHITTEN LAW OFFICE

 

 

Christopher R. Whitten/20429-49
Jason J. Hoy/20931-49
Counsel for Defendants

Case 1:18-cv-01249-WTL-|\/|PB Document 1-2 Filed 04/25/18 Page 30 of 30 Page|D #: 35

 

CERTIFICATE OF SERVICE
I certify that on the 20th day of April, 2018, I electronically filed the
foregoing with the Clerk of the Court using the Cl\/l/ECF` system, which sent

notification to the following CM/ ECF participants

Alex Beeman, Esq.
BEEMAN LAW
3737 South Scatterfield Road
Suite 200
Anderson, IN 46013
alex@beemanlawoffice.com
d;;-,~.-»<" ma f\f§

;»»~ <tr~"\'..
,F x /

<:,/ w t___,)

 

Christopher R. Whitten
Jason J. Hoy

WHITTEN LAW OFFICE
6801 Gray Road, Suite H
Indianapolis, IN 46237
PH: 317-362-0225

FX: 317-362-0 15 1

10

